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  8
                           UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10

 11 NEMAN BROTHERS & ASSOC.,                       Case No.: 2:20-cv-11181-CAS-JPR
      INC., a California Corporation,
 12                                                STATEMENT OF
                  Plaintiff,                       CONTROVERTED FACTS AND
 13                                                CONCLUSIONS OF LAW IN
            v.                                     OPPOSITION TO DEFENDANT
 14                                                INTERFOCUS INC.’S SECOND
    INTERFOCUS, INC. d.b.a.                        MOTION FOR SUMMARY
 15 www.patpat.com, a Delaware                     JUDGMENT
    Corporation; CAN WANG, and
 16 individual, and DOES 1-10, inclusive,          Date: December 6, 2021
                                                   Time: 10:00 am
 17               Defendants.                      Courtroom: 8D
 18                                                Honorable Christine A. Snyder
      INTERFOCUS, INC. d.b.a.
 19 www.patpat.com, a Delaware
      Corporation; CAN WANG, and
 20 individual, and DOES 1-10, inclusive,

 21               Counterclaim Plaintiffs,
            v.
 22
      NEMAN BROTHERS & ASSOC.,
 23 INC., a California Corporation,

 24               Counterclaim Defendant.
 25

 26

 27

 28                                          -1-

        STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW
       IN OPPOSITION TO DEFENDANT INTERFOCUS, INC.’S SECOND MOTION
                          FOR SUMMARY JUDGMENT
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  1        Plaintiff presents the following Statement of controverted facts and
  2 conclusions of law in opposition to Interfocus’ Second Motion for Summary

  3 Judgment on Plaintiff’s First Amended Complaint herein pursuant to Local Rule 56-

  4 1 as follows:

  5

  6                  STATEMENT OF CONTROVERTED FACTS
  7
          Interfocus’s Undisputed Fact                     Plaintiff’s Response
  8
      1. Plaintiff Neman Brothers, Inc.         Undisputed.
  9      [“Neman Brothers”] filed what’s
 10
         called a group registration of
         unpublished works about every
 11      month. November 1, 2021
 12
         Declaration of Mark S. Lee [“Nov. 1
         Lee Decl.”] Ex. 1, Declaration of
 13      Yoel Neman [“Neman Decl.”]
 14
         26:26-24.
      2. Some of the works in each of the       Objection.
 15      three copyright registrations on       The bolded part only assumes the facts
 16      which Plaintiff bases its copyright    not in evidence.
         infringement claims were authored      The underlined part is irrelevant.
 17      by third party designs studios from
 18      whom Neman Brothers purchased          Disputed
         rights, who are not named as authors   Plaintiff has obtained, from the author or
 19      or claimants in the registrations.     from an entity that has obtained ownership
 20      Nov. 1, 2021 Lee Decl. Ex. 1, Yoel
         Neman Deposition (“Neman               of all rights under the copyright initially
 21      Depo.”). 26:16-24 and Exs. 17, 27,     belonging to the author, is also categorized
 22      and 33’
                                                as an author. Therefore, the subject designs
 23                                             based on the purchased designs were
 24                                             modified by Neman’s employee, which
 25                                             makes Neman as one of the authors has
 26                                             contributed copyrightable authorship to

 27                                             each element, notwithstanding whether

 28                                             the designs were internally made or
                                         -1-
         INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
               OF LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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  1
          Interfocus’s Undisputed Fact                     Plaintiff’s Response
  2
                                                were modified from the purchased
  3
                                                designs. Mokhtarians Decl. ⁋⁋10-14.
  4

  5   3. Two of the three designs at issue in   Objection.
         this case were themselves not          The bolded part is irrelevant because
  6
         authored by Neman Brothers, but        the Copyright Office regulation and the
  7      instead by two different European      Compendium deemed Neman Brothers
         design studios, contrary to the        an author too. (CFR/Compendium)
  8
         claims made in the registrations.
  9      Nov. 1 Lee Decl. Ex. 1, Neman          Disputed
         Depo. 66:12-68:1, 70:11-71:5.          Plaintiff has obtained, from the author or
 10
                                                from an entity that has obtained ownership
 11
                                                of all rights under the copyright initially
 12
                                                belonging to the author, is also categorized
 13
                                                as an author. Therefore, the subject designs
 14
                                                based on the purchased designs were
 15                                             modified by Neman’s employee, which
 16                                             makes Neman as one of the authors has
 17                                             contributed copyrightable authorship to
 18                                             each element, notwithstanding whether
 19                                             the designs were internally made or
 20                                             were modified from the purchased

 21                                             designs. Mokhtarians Decl. ⁋⁋10-14.

 22
      4. Neman Brothers knew those facts        Objection.
 23      when he signed and certified the       Irrelevant because the Office allows
 24      accuracy of the three registrations.   Neman to supplement the registration
         Nov. 1 Lee Decl. Ex. 1, Neman          according to the Third Compendium of
 25      Depo. 60:22, 87:21-24,88:1-9,          both 2014 and 2021 versions.
 26      88:14-19, 89:24-90:9, 97:17-98:2,      (Compendium)
         114:12-23, 115:3-14, 116:24-117:4,
 27      117:24-118:5, 118:12-119:4, 129:3-     Disputed.
 28                                             Q. Do you know which of the work shown
                                       -2-
           NEMAN BROTHERS’ STATEMENT OF UNCONTROVERTED FACTS AND
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  1
          Interfocus’s Undisputed Fact                      Plaintiff’s Response
  2
         129:19, 133:22-134:12, and Exs. 10,      here were purchased from other studios
  3      17, 18, 27, 28 and 33 thereto.           and which were created by Neman
                                                  Brothers?
  4                                               A. I don’t know.
  5                                               Q Okay. But that would reflected in
                                                  Neman Brothers' records?
  6                                               A Yes.
                                                  Q And that would've -- and that would've
  7
                                                  been the case when this registration was
  8                                               filed?
                                                  A 1 don't understand.
  9                                               Q Oh. In other words, the fact that some of
 10                                               the work shown here were purchased by
                                                  Neman Brothers and some were created,
 11                                               would that have been in Neman Brothers'
                                                  records when this copyright registration
 12
                                                  was filed?
 13                                               A Yes.
                                                  Q And that would've been known to you
 14                                               when this registration was filed?
 15                                               A I -- I think so. I'm not sure. (114:24-
                                                  115:17)
 16
                                                  Q Okay. So some of those might've been
 17                                               Purchased and some of them might be
                                                  created or something else, is that correct?
 18                                               A.That’s right.
 19                                               Q All right. Now, the ones that were
                                                  created you already indicated were created
 20                                               by people who worked in Neman Brothers'
                                                  design team, were those people all full-
 21
                                                  time employees of Neman Brothers?
 22                                               A Yes. (117:1-10)

 23   5. The three copyright registrations that   Objection.
 24      are at issue in this action do not       Misstatement of facts (the registrations
         include “the name and nationality or     state the name and nationality or
 25      domicile of the author or authors” for   domicile of Neman Brothers as an
 26      the third-party created works. Nov.      author)
         1, 2021 Lee Decl. Ex. 1, Exs. 17, 27,    Irrelevant because the Office allows
 27      and 33.                                  Neman to supplement the registration
 28                                               according to the Third Compendium of
                                       -3-
           NEMAN BROTHERS’ STATEMENT OF UNCONTROVERTED FACTS AND
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  1
           Interfocus’s Undisputed Fact                     Plaintiff’s Response
  2
                                                   both 2014 and 2021 versions.
  3                                                (Compendium)
  4
      6. The three copyright registrations that    Objection.
         are at issue in this action do not        Misstatement of facts (the registration
  5      include a statement that the subgroup     states “yes” as to “work made for
  6
         of included works its employees           hire”.)
         created were “works made for hire”.       Assumes facts not in evidence and
  7      Nov. 1, 2021 Lee Decl. Ex. 1, Exs.        mischaracterization (Interfocus
  8      17, 27, and 33.                           illogically assumes the information on
                                                   the registration is necessarily all
  9                                                information provided in the
 10                                                application.)
                                                   Irrelevant because the Office allows
 11                                                Neman to supplement the registration
 12                                                according to the Third Compendium of
                                                   both 2014 and 2021 versions.
 13                                                (Compendium)
 14   7. The three copyright registrations that    Objection.
         are at issue in this action a brief       Unintelligible as the sentence is
 15      statement of how the claimant             incomplete.
 16      obtained ownership of the copyright.      If Interfocus meant the said
         Nov. 1, 2021 Lee Decl. Ex. 1, Exs.        registrations “lacked” the said brief
 17      17, 27, and 33.                           statement, it again illogically assumes
 18                                                the information on the registration is
                                                   necessarily all information provided in
 19                                                the application.
 20                                                Irrelevant because the Office allows
                                                   Neman to supplement the registration
 21                                                according to the Third Compendium of
 22                                                both 2014 and 2021 versions.
                                                   (Compendium)
 23   8. Although many of the works in each        Objection.
 24      of the three registration at issue were   Unintelligible as the sentence is
         later versions of previously              incomplete.
 25      copyrighted works, and were               If interfocus meant the information
 26      therefore derivative in nature (Nov. 1    about the preexisting design should
         Lee Decl. Ex. 1, Neman Depo. 89:2-        have been disclosed because the
 27      7, 118:12-119:4, and 132:4-133:73).       registration did not show it, Interfocus
 28      Nov. 1 Lee Decl. Ex. 1, Neman             again illogically assumes the
                                       -4-
           NEMAN BROTHERS’ STATEMENT OF UNCONTROVERTED FACTS AND
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  1
           Interfocus’s Undisputed Fact                      Plaintiff’s Response
  2
         Depo. 89:2-7, 118:12-119:4, and           information on the registration is
  3      132:4-133:73, Exs. 17, 27, and 33.        necessarily all information provided in
  4
                                                   the application.
                                                   Irrelevant because the Office allows
  5                                                Neman to supplement the registration
  6
                                                   according to the Third Compendium of
                                                   both 2014 and 2021 versions.
  7                                                (Compendium)
  8   9. The registrations include neither “an     Irrelevant because the Office allows
         identification of any preexisting         Neman to supplement the registration
  9      work or works that it is based on or      according to the Third Compendium of
 10      incorporates” a previous work, nor        both 2014 and 2021 versions.
         “a brief, general statement of the        (Compendium)
 11      additional material covered by the
 12      copyright claim being registered.”
         Nov. 1, 2021 Lee Decl. Ex. 1, Exs.
 13      17, 27, and 33.
 14

 15

 16    NEMAN BROTHERS’ RESPONSES TO INTERFOCUS’S CONCLUSIONS

 17                                         OF LAW

 18
         1. INTERFOCUS’S CONCLUSIONS OF LAW: Congress authorized the
 19
            Copyright Office to dictate the requirements for “a single registration for a
 20
            group of related works” in the Copyright Act of 1976. 17 U.S.C. § 408(c)(1).
 21
            Congress also required that certain group registrations include only works by
 22
            “the same individual author.” 17 U.S.C. § 408(c)(2).
 23

 24
      Plaintiff’s Response:
 25
            It misstates the law.
 26
            The Copyright Office as of October 2016, “identified a number of provisions that
 27 have expired or have become obsolete. Because these provisions no longer serve any

 28 purpose, the Office is removing them from its regulations.” 81 FR 6794-01, p.67942. The
                                               -5-
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  1 Office then decided the entire section 202.4 to be “[r]emoved and reserved]” Id. p.67946.

  2            202.4(c)(5) did not exist at the time of Neman’s application and registration as of
  3 …2017. NB161106 was registered as of January 13, 2017, and NB170268 was registered

  4 as of March 3, 2017. After the two registrations, the said subsection was added as of

  5 October 12, 2017 (82 FR 47415-01, pp.47420-21), and therefore cannot retroactively apply
      to those subject registrations in this case.
  6
               In explaining the differences before and after 82 FR 47415-01, the Office stated;
  7

  8
                      The unpublished collection regulation provides that “a combination of such
  9
                      elements shall be considered a ‘collection’ if: (1) The elements are
 10
                      assembled in an orderly form; (2) The combined elements bear a single title
 11
                      identifying the collection as a whole; (3) The copyright claimant in all of the
 12
                      elements, and in the collection as a whole, is the same; and (4) All of the
 13                   elements are by the same author, or, if they are by different authors, at
 14                   least one of the authors has contributed copyrightable authorship to
 15                   each element.” Id. § 202.3(b)(4)(i)(B). The regulation further provides that a
 16                   “[r]egistration of an unpublished ‘collection’ extends to each
 17                   copyrightable element in the collection and to the authorship, if any,
 18                   involved in selecting and assembling the collection.” Id. § 202.3(b)(4)(i).

 19
               In other words, before 82 FR 47415-01, when the two registrations were made, it
 20
      was not required “[a]ll works [identified in the group registration of unpublished works]
 21
      must be created by the same author or joint authors”. Later, realizing “[t]he regulatory
 22
      accommodation for unpublished collections was well-intentioned but has imposed an
 23
      increasing burden on the administration of the copyright registration system”, the Office
 24
      made changes through 82 FR 47415-01, by adding the current subsection (c)(5) to Section
 25
      202.4.
 26
               The Federal regulation made in 2018 or 2021 cannot retroactively apply the
 27
      applications approved by the Office in 2017. The Ninth Circuit Court held;
 28
                                        -6-
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  1                 “[T]he presumption against retroactive legislation ... is deeply rooted in our
  2                 jurisprudence.” Id. at 785 (quoting Landgraf v. USI Film Prods., 511 U.S.
  3                 244, 265, 114 S.Ct. 1483, 128 L.Ed.2d 229 (1994)). We “disfavor retroactive

  4                 laws based on concerns about fairness: ‘elementary considerations of

  5                 fairness dictate that individuals should have an opportunity to know what the
                    law is and to conform their conduct accordingly; settled expectations should
  6
                    not be lightly disrupted.’ ” Id. (quoting Landgraf, 511 U.S. at 265, 114 S.Ct.
  7
                    1483). We only apply a statute or regulation retroactively if there is “clear
  8
                    congressional intent” that it should be applied retroactively. Id. at
  9
                    786 (quoting Landgraf, 511 U.S. at 268, 114 S.Ct. 1483; see also Bowen v.
 10
                    Georgetown Univ. Hosp., 488 U.S. 204, 208, 109 S.Ct. 468, 102 L.Ed.2d 493
 11
                    (1988) (“[A] statutory grant of legislative rulemaking authority will not, as a
 12                 general matter, be understood to encompass the power to promulgate
 13                 retroactive rules unless that power is conveyed by Congress in express
 14                 terms.”)).
 15                 Sacks v. S.E.C., 648 F.3d 945, 951 (9th Cir. 2011).
 16          The Office in nowhere of the subsequent regulations, could not, and did not, express
 17 “clear intent” that the relevant portions should apply retroactively. See 82 FR 47415-01.

 18 By logic, the Office should not, and did not, invalidate all of the prior registrations

 19 approved by the Office itself pursuant to its own previous regulations by making a new
      rule and applying it to the previous registrations.
 20

 21

 22
         2. INTERFOCUS’S CONCLUSIONS OF LAW: Consistent with this
 23
             Congressional mandate, the Copyright Office since 1978 has required that
 24
             group registrations of unpublished works be limited to collections of works by
 25
             the same author or including the same joint author. Calling its original
 26
             regulation for such registrations as applying to “unpublished collections” of
 27
             works, it required that “[a]ll of the elements [identified in the unpublished
 28
                                        -7-
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  1       collection registration] are by the same author [or same joint author]” to
  2       qualify for such group registration. 43 FR 965, 966 (Jan. 5, 1978),
  3       https://tile.loc.gov/storage-
  4       services/service/ll/fedreg/fr043/fr043003/fr043003.pdf. That language was
  5       included in every regulation covering group registrations of unpublished
  6       works until the most recent regulatory amendments of 2019. See former 37
  7       CFR 202.3(b)(4)(B)(4) (2010), https://www.govinfo.gov/content/pkg/CFR-
  8       2010-title37-vol1/pdf/CFR-2010-title37-vol1-sec202-3.pdf; Notice of
  9       Proposed Rulemaking for Group Registration of Unpublished Works, 82 FR
 10       No. 196, p. 47415, 47416 (October 12, 2017),
 11       https://www.govinfo.gov/content/pkg/FR-2017-10-12/pdf/2017-21722.pdf.).
 12

 13 Plaintiff’s Response:

 14       Same as the Response to No. 1.
 15

 16

 17    3. INTERFOCUS’S CONCLUSIONS OF LAW: The 2019 amendments to
 18       the relevant regulation even more clearly require that “[a]ll works [identified
 19       in the group registration of unpublished works] must be created by the same
 20       author or joint authors, and the author and claimant information for each work
 21       must be the same.” 37 C.F.R. § 202.4(c)(5),
 22       https://www.law.cornell.edu/cfr/text/37/202.4. (Emphasis added) That same
 23       amended regulation states that “[t]he applicant must identify the
 24       authorship that each author or joint author contributed to the works,
 25       and the authorship statement for each author or joint author must be the
 26       same.” 37 C.F.R. § 202.4(c)(7)(2019),
 27       https://www.law.cornell.edu/cfr/text/37/202.4.; see also, Copyright Office
 28       Circular 34 p. 5, https://www.copyright.gov/circs/circ34.pdf (to qualify for
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  1        group registration of unpublished works, “[a]ll of the authors must be named
  2        as copyright claimants… [and the registration] must identify the authorship
  3        that each author or joint author contributed to the works…”) (Emphasis
  4        added.)
  5

  6 Plaintiff’s Response:

  7        Same as the Response to No. 1.
  8        Therefore, there is no issue of whether the group registration is valid or not. It
  9 is at most the matter of whether Neman was to add all of the authors’ names in

 10 addition to Neman Brothers as an author/claimant.

 11        The Office’s Compendium in Section 1802.6(D) in both versions of 2014 and
 12 2021 allows the claimant to freely supplement as to an error or omission involving

 13 the author(s) of the work. Compendium §1802.6(D) (3d ed. 2014 and 2021) (citing 37

 14 C.F.R. § 201.5(b)(2)(ii)(A)).

 15

 16     4. INTERFOCUS’S CONCLUSIONS OF LAW: To qualify as a valid group
 17        registration of unpublished works, all of the authors and co-authors of all of
 18        the works in the registration must be the same, all of the authors also must be
 19        the copyright claimants identified in the registrations, and the contribution of
 20        each author or joint author be identified for all of the works in the group
 21        registration under the authorities cited above.
 22

 23 Plaintiff’s Response

 24        Same as the above.
 25

 26     5. INTERFOCUS’S CONCLUSIONS OF LAW: These group registrations
 27        provide significant cost savings and other advantages to copyright owners but
 28        impose additional burdens on the Copyright Office in evaluating them, so
                                       -9-
           NEMAN BROTHERS’ STATEMENT OF UNCONTROVERTED FACTS AND
       CONCLUSIONS OF LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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  1        “compliance with the applicable regulations should be strictly enforced.”
  2        Palmer/Kane LLC v. Rosen Book Works LLC, 204 F. Supp. 3d 565, 571
  3        (S.D.N.Y. 2016); see also, 82 FR No. 196, p. 47415, 47416 (October 12,
  4        2017) (describing the advantages to copyright claimants but the potentially
  5        onerous burdens on the Copyright Office imposed by group registrations of
  6        unpublished works.)
  7

  8 Plaintiff’s Response

  9        Here, Interfocus admitted to having read “82 FR 47415-01”, but still misstated
 10 the law to the Court as if it did not know.

 11        Palmer is not applicable because the issue of the case was about whether the
 12 error or omission was a matter of meeting a condition for a group registration of

 13 published photographs or not. Palmer/Kane LLC v. Rosen Book Works LLC, 204 F.

 14 Supp. 3d 565, 571 (S.D.N.Y. 2016) (Under those rules, group registration of

 15 published photographs is permitted only if “the photographs in the group [ ] have

 16 been published within the same calendar year.”). However, in this case, as discussed

 17 above, the issue is not the matter of satisfying, or failing to meet, a certain condition.

 18 Rather, it is a matter of supplementing it.

 19

 20

 21     6. INTERFOCUS’S CONCLUSIONS OF LAW: Neman Brothers’
 22        registrations, nowhere acknowledge they include many works authored by
 23        undisclosed third-parties different from and not including Neman Brothers,
 24        and nowhere identify those third parties as claimants, violate these
 25        requirements. They constitute a combination of works from different authors,
 26        many of whom are not identified, that is ineligible for group registration of
 27        unpublished works under the Copyright Office regulations by which Neman
 28        Brothers filed them.
                                      -10-
           NEMAN BROTHERS’ STATEMENT OF UNCONTROVERTED FACTS AND
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  1

  2 Plaintiff’s Response

  3        Same as the above.
  4

  5

  6     7. INTERFOCUS’S CONCLUSIONS OF LAW: Neman Brother’s
  7        registrations also contain numerous other factual errors and omissions that
  8        should invalidate them under the general registration requirements of 17
  9        U.S.C. § 409. The three registrations do not include “the name and nationality
 10        or domicile of the author or authors” for the third-party created works as
 11        required by 17 U.S.C. § 409(2). They do not include a statement that the
 12        subgroup of included works its employees created were “works made for
 13        hire” in violation of by 17 U.S.C. § 409(4). For the undisclosed third-party
 14        works included in each registration, the registrations do not include “a brief
 15        statement of how the claimant obtained ownership of the copyright” as
 16        required by by17 U.S.C. § 409(5). Finally, although Mr. Neman admitted that
 17        many of the works in each registration were later versions of previously
 18        copyrighted works, and were therefore derivative in nature, the registrations
 19        include neither “an identification of any preexisting work or works that it is
 20        based on or incorporates” a previous work, nor “a brief, general statement of
 21        the additional material covered by the copyright claim being registered” as
 22        mandated by 17 U.S.C. § 409(9).
 23

 24 Plaintiff’s Response

 25        Interfocus assumes that what the registration has is all Neman provided in the
 26 application. In addition, the Office’s Compendium in both versions of 2014 and

 27 2021 allows the claimant to freely supplement as to an error or omission involving

 28
                                      -11-
           NEMAN BROTHERS’ STATEMENT OF UNCONTROVERTED FACTS AND
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  1 the author(s) of the work and work for hire issues. Compendium §§1802.6(D)-(E) (3d

  2 ed. 2014 and 2021).

  3

  4     8. INTERFOCUS’S CONCLUSIONS OF LAW: The above errors support
  5        invalidation of the three copyright registrations at issue as a matter of law.
  6        Gold Value International Textile, Inc. v. Sanctuary Clothing, LLC, 925 F.3d
  7        1140 (9th Cir. 2019) (affirming summary judgment for defendant on copyright
  8        infringement claim because the group registration at issue knowingly
  9        combined published and unpublished fabric designs in violation of Copyright
 10        Office’s regulations for registration of unpublished collections.)
 11

 12 Plaintiff’s Response

 13        Same as the above.
 14

 15     9. INTERFOCUS’S CONCLUSIONS OF LAW: However, this Court will not
 16        rule on this issue in the first instance. Instead, the Ninth Circuit has instructed
 17        that “once a defendant alleges that (1) a plaintiff’s certificate of registration
 18        contains inaccurate information; (2) ‘the inaccurate information was included
 19        in the application for copyright registration’; and (3) the inaccurate
 20        information was included on the application ‘with knowledge that it was
 21        inaccurate,’” this Court should instead submit a request to the Register of
 22        Copyrights pursuant to 17 U.S.C. § 411(b) “to advise the court whether the
 23        inaccurate information, if known, would have caused [it] to refuse
 24        registration.” Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 959 F.3d
 25        1194, 1197 (9th Cir. 2020).
 26

 27 Plaintiff’s Response

 28
                                      -12-
           NEMAN BROTHERS’ STATEMENT OF UNCONTROVERTED FACTS AND
       CONCLUSIONS OF LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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                                 #:1405



  1        Same as the above. The H&M case is now pending in front of the US
  2 Supreme Court. Certiorari Granted in Part by Unicolors, Inc. v. H&M Hennes &

  3 Mauritz, L.P., 141 S.Ct. 2698, 21 Cal. Daily Op. Serv. 5081, 2021 Daily Journal

  4 D.A.R. 5233, U.S., June 01, 2021 (NO. 20-915)

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  7     10. INTERFOCUS’S CONCLUSIONS OF LAW: As invalidation of Neman
  8        Brothers’ copyright registrations would be fatal to its copyright infringement
  9        claims, this Court will make such a request to the Copyright Office now, and
 10        stay this action until the Copyright Office responds. If the Copyright Office
 11        advises that the inaccurate information Neman Brothers provided would have
 12        caused it to refuse the registrations, this Court will invalidate all three of them
 13        and grant summary judgment to InterFocus on Neman Brothers’ copyright
 14        infringement claims herein. Gold Value International Textile, Inc. v.
 15        Sanctuary Clothing, LLC, 925 F.3d at 1146-47 (granting summary judgment
 16        for defendant based on a Copyright Office determination that it would have
 17        denied the group registration of unpublished fabric designs at issue.)
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 19 Plaintiff’s Response

 20        Same as the above.
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 22 Dated: November 15, 2021                 Respectfully submitted,
 23
                                             /s/Chan Yong Jeong____
 24                                          Chan Yong Jeong, Esq.
                                             Attorney for NEMAN BROTHERS &
 25                                          ASSOC., INC.
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